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 1                              UNITED STATES DISTRICT COURT
 2                           NORTHERN DISTRICT OF CALIFORNIA
 3                                     OAKLAND DIVISION
 4
       ELON MUSK, et al.,                             Case No. 4:24-cv-04722-YGR
 5
                       Plaintiffs,                    [PROPOSED] ORDER DENYING
 6                                                    MOTION TO DISMISS OPENAI’S
             v.                                       COUNTERCLAIMS
 7
       SAMUEL ALTMAN, et al.,                         Date: July 1, 2025
 8                                                    Time: 2:00 p.m.
                       Defendants.                    Courtroom: 1 – 4th Floor
 9                                                    Judge: Hon. Yvonne Gonzalez Rogers
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 1                                          [PROPOSED] ORDER
 2             Plaintiffs and Counterclaim Defendants Elon Musk and X.AI Corp. (“xAI” and, with Musk,

 3    “Plaintiffs”) move to dismiss the Counterclaims of Defendants and Counterclaim Plaintiffs

 4    OpenAI, Inc., OpenAI OpCo, LLC, and OpenAI Global, LLC (collectively, “OpenAI”) filed on

 5    April 9, 2025 (the “Motion” or “MTD”).

 6             Having considered all papers filed by the parties in connection with the Motion and the

 7    parties’ arguments at the hearing on this matter, the Motion is DENIED.

 8                                             BACKGROUND

 9             OpenAI has pleaded two claims against Musk and xAI: (1) unfair and fraudulent business

10    practices, in violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200

11    et seq., based on Plaintiffs’ “orchestrating a sham bid to purportedly acquire [] OpenAI, Inc.’s

12    assets,” and (2) tortious interference with prospective economic advantage, again based on the

13    “purported bid.” See ¶¶ 102-27.1 OpenAI alleges that this “bid,” which was conveyed in a “Letter

14    of Intent” to OpenAI’s board in February 2025 (the “LOI”), was a “naked effort to disrupt the

15    [OpenAI, Inc. nonprofit] board’s consideration” of a corporate reorganization that the board has

16    been considering for roughly a year. ¶ 95.

17             OpenAI alleges that the bid was a sham that “dominated international news for days,” ¶ 84,

18    and “required OpenAI to expend significant resources in responding to it.” ¶ 90. The counterclaims

19    further allege that this “effort to disrupt the [OpenAI] board’s consideration of a potential

20    restructuring and sow confusion among employees and potential investors” has interfered with the

21    valuation exercise implicated in OpenAI’s planned reorganization, ¶ 95, has threatened OpenAI’s

22    relationships with its investors, and has “already made maintenance of those business relationships

23    more costly and burdensome,” ¶ 96; see also ¶¶ 107-08, 121-24. The sham bid thereby threatens

24    competitive harm, as Plaintiffs’ purpose in pursuing the bid was “to slow OpenAI’s progress and

25    impair its ability to compete effectively in an increasingly crowded field,” and “also to seize and

26    maintain for xAI an unearned edge designed to impair competition more broadly for the sole benefit

27    of Musk’s xAI, at the expense of the public interest.” ¶ 98; see also ¶ 109.

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          Citations in the form “¶ __” are of OpenAI’s Counterclaims (Dkt. 147).

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 1                                                 ANALYSIS

 2    I.     NEITHER THE NOERR-PENNINGTON DOCTRINE NOR THE LITIGATION
             PRIVILEGE APPLIES
 3

 4           Plaintiffs seek to dismiss OpenAI’s counterclaims on the basis of the Noerr-Pennington

 5    doctrine and California’s litigation privilege, arguing that OpenAI’s counterclaims are “predicated”

 6    on (1) Plaintiffs’ communications with the Delaware and/or California Attorneys General and/or

 7    (2) communications “incidental to” or constituting a “necessary or useful step” in the pursuit of

 8    proceedings before the Attorneys General and/or this litigation. See MTD 1. This premise is

 9    inaccurate. Plaintiffs’ letters to the Attorneys General, mentioned in a lone paragraph of the

10    counterclaims’ factual narrative, see ¶ 69, are not the basis for OpenAI’s counterclaims. Plaintiffs’

11    bid and its attendant media hype are instead what ground those claims, and the pleaded facts do not

12    support Plaintiffs’ argument that the bid was an important part of their petitioning activity.

13           A.      Noerr-Pennington

14           The “seldom-used” Noerr-Pennington doctrine “protects ‘those who petition any

15    department of the government for redress . . . from statutory liability for their petitioning conduct.’”

16    In re Apple Inc. Sec. Litig., 2020 WL 2857397, at *18 (N.D. Cal. June 2, 2020) (quoting Sosa v.

17    DIRECTV, Inc., 437 F.3d 923, 929 (9th Cir. 2006)) (emphasis added). The doctrine protects only

18    “(1) petitioning activity itself—for instance, ‘[a] complaint, an answer, a counterclaim’—and

19    (2) ‘conduct incidental to a petition.’” Cascades Comp. Innov. LLC v. RPX Corp., 2013 WL

20    6247594, at *16 (N.D. Cal. Dec. 3, 2013) (quoting Freeman v. Lasky, Haas & Cohler, 410 F.3d

21    1180, 1183-84 (9th Cir. 2005)). And “conduct incidental to a petition” is captured only where

22    “‘sufficiently related to petitioning activity,’” id. (quoting Sosa, 437 F.3d at 935), and where

23    protecting the challenged activity is necessary “‘to preserve the breathing space required for the

24    exercise of the rights [the Petition Clause] protects,’” Arista Networks, Inc. v. Cisco Sys. Inc., 2018

25    WL 11230167, at *11 (N.D. Cal. May 21, 2018) (quoting Sosa, 437 F.3d at 933).

26           The LOI does not fall within Noerr-Pennington’s zone of protection. It is not a

27    communication with a court or part of a litigation. Plaintiffs assert the LOI is “the practical

28    implementation of, and conduct ‘incidental’ to, their petition to the Attorneys General.” MTD 9.

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 1    By “petition to the Attorneys General,” Plaintiffs seem to mean: (1) a November 14, 2024 letter

 2    their counsel sent on their behalf to the Attorney General of Delaware enclosing a copy of the First

 3    Amended Complaint (Dkt. 32 ¶ 421); (2) a January 7, 2025 letter from that same counsel but this

 4    time on behalf of “certain major investors in generative artificial intelligence” to the Attorneys

 5    General of California and Delaware expressing interest in “bidding on the assets of OpenAI, Inc.”

 6    (Dkt. 103-5); and/or (3) an unsuccessful application to the California Attorney General for relator

 7    status (Dkt. 157-1). See MTD 3-4, 9 n.8. But even imagining any of these qualified as a “petition,”

 8    the LOI was not “incidental” to any of them. The LOI was not “useful or necessary to successfully

 9    petition [either Attorney General] for redress.” Wisk Aero LLC v. Archer Aviation Inc., 2021 WL

10    4932734, at *8 (N.D. Cal. Sept. 14, 2021). It was sent on behalf of a group different from the

11    Plaintiffs in this suit; it was addressed not to a regulator or the Court but to the OpenAI, Inc. board;

12    and it doesn’t even mention any litigation or regulatory investigation. For the same reasons,

13    Plaintiffs get no protection for their press campaign with respect to the LOI. Plaintiffs’ alleged

14    leaking of the LOI to the media and attendant press commentary were no more tethered to this

15    litigation or to proceedings before the Attorneys General than the LOI itself. See Wisk Aero, 2021

16    WL 4932734, at *8 (“blog posts and press release” that “communicated with the public about the

17    [underlying] lawsuit” did not qualify, as “they did not, in any manner, affect . . . or advance

18    [defendant’s] interests in [the lawsuit]” (emphasis removed)).2

19           B.      Litigation Privilege

20           For largely the same reasons, California’s litigation privilege furnishes no basis to dismiss

21    OpenAI’s counterclaims. The “privilege generally applies to ‘any communication (1) made in

22    judicial or quasi-judicial proceedings; (2) by litigants or other participants authorized by law; (3) to

23    achieve the objects of the litigation; and (4) that have some connection or logical relation to the

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        The Noerr-Pennington doctrine also does not bar OpenAI’s allegations with respect to other
      conduct, including Plaintiffs’ letters to the Delaware and California Attorneys General, which is
26    pleaded to contextualize the sham bid and demonstrate the risk of future harm. Courts have
      recognized that Noerr-Pennington is not a rule of evidence; it “does not provide a basis for
27
      exclusion” from trial of conduct that might be protected were it pleaded as the basis for liability.
28    See, e.g., Hernandez v. Amcord, Inc., 215 Cal. App. 4th 659, 679-80 (2013) (collecting federal
      cases).
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 1    action.’” Argentieri v. Zuckerberg, 8 Cal. App. 5th 768, 780 (2017) (quoting Silberg v. Anderson,

 2    50 Cal. 3d 205, 212 (1990)). “For the litigation privilege to apply” to out-of-court communications,

 3    “there must be a sufficient nexus between the statement and the litigation.” Id. at 785. Specifically,

 4    “the communication must function as a necessary or useful step in the litigation [or regulatory]

 5    process and must serve its purposes.” See City of Costa Mesa v. D’Alessio Inv., LLC, 214 Cal. App.

 6    4th 358, 382 (2013) (quotation marks omitted).

 7            The LOI is not covered by the privilege because it was not addressed to a court or regulator,

 8    and in no way “function[ed] as a necessary or useful step” in either this litigation or Musk’s efforts

 9    to provoke the Attorneys General. Id. The LOI was not sent on behalf of the same group comprising

10    Plaintiffs in this litigation, and makes no reference to this litigation. Nor can the litigation privilege

11    immunize Plaintiffs’ alleged press campaign surrounding the sham bid. Courts have found time and

12    again that the privilege “will not protect statements that are made to persons who lack a substantial

13    interest in the litigation,” including statements to inherently disinterested media outlets. Argentieri,

14    8 Cal. App. 5th at 784-85 (litigation privilege does not apply to statements “sent to the press,”

15    including those related to the underlying case); see also Rodriguez v. Panayiotou, 314 F.3d 979,

16    988 (9th Cir. 2002) (“[T]he litigation privilege does not extend to ‘litigating in the press.’” (quoting

17    Rothman v. Jackson, 49 Cal. App. 4th 1134, 1149 (1996))).3

18    II.     OPENAI ADEQUATELY PLEADS BOTH COUNTERCLAIMS

19            A motion to dismiss must be denied where the complaint “contain[s] sufficient factual

20    matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

21    556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “[A]ll

22    reasonable inferences must be drawn in favor of the non-moving party.” In re Diadexus, Inc., 2019

23    WL 3412928, at *10 (N.D. Cal. July 29, 2019).

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      3
25      As with Noerr-Pennington, the litigation privilege does not bar OpenAI from pleading or
      adducing as evidence of its counterclaims—and its affirmative defenses—conduct that would be
26    protected by the litigation privilege if presented as the predicate for the claim, including Plaintiffs’
      communications with the Attorneys General. See, e.g., Oren Royal Oaks Venture v. Greenberg,
27
      Bernhard, Weiss & Karma, Inc., 42 Cal. 3d 1157, 1168 (1986) (litigation privilege “does not create
28    an evidentiary privilege” and thus “statements made during the course of a judicial proceeding may
      be used for evidentiary purposes”).
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 1           OpenAI’s allegations readily clear this bar and amply sustain both its UCL claim, which

 2    alleges that Plaintiffs’ sham bid constituted “unfair” and “fraudulent” conduct, and its claim for

 3    tortious interference with prospective economic advantage, which likewise centers on Plaintiffs’

 4    bid. This is true even if heightened particularity—entailing some specification of “the who, what,

 5    when, where, and how of the misconduct charged,” Amin v. Subway Rests., Inc., 2022 WL

 6    20184652, at *4 (N.D. Cal. July 7, 2022)—is required.

 7           A.      Violation of California’s UCL (First Counterclaim)

 8           “Unfair competition” under California’s Unfair Competition Law includes “any unlawful,

 9    unfair or fraudulent business act or practice.” Cal. Bus. & Prof. Code § 17200. “The UCL is a broad

10    remedial statute” allowing challenges to “wrongful business conduct in whatever context such

11    activity might occur.” Lozano v. AT&T Wireless Servs., Inc., 504 F.3d 718, 731 (9th Cir. 2007).

12    OpenAI pleads a claim under both the “unfair” and “fraudulent” prongs of the UCL.

13                   1.     Unfair business acts or practices

14           Under the UCL, “unfairness to competitors” is “conduct that [1] threatens an incipient

15    violation of an antitrust law, or [2] violates the policy or spirit of one of those laws because its

16    effects are comparable to or the same as a violation of the law, or [3] otherwise significantly

17    threatens or harms competition.” Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th

18    163, 186-87 (1999). OpenAI’s allegations readily meet this standard.

19           OpenAI alleges that Plaintiffs sought through the sham bid to disrupt and ultimately prevent

20    an OpenAI structure change—all to impair OpenAI’s “ab[ility] to compete fairly,” i.e., to raise

21    needed capital on equal footing with competitors. LegalForce RAPC Worldwide P.C. v.

22    UpCounsel, Inc., 2019 WL 160335, at *18 (N.D. Cal. Jan. 10, 2019); Planned Parenthood Fed’n

23    of Am., Inc. v. Ctr. for Med. Progress, 214 F. Supp. 3d 808, 837 (N.D. Cal. 2016) (allegations that

24    “defendants’ goal was to put plaintiffs—one of the largest providers of reproductive health services

25    in the country—out of business” pled unfairness claim). The challenged conduct was directed at

26    “impair[ing] [OpenAI’s] ability to compete effectively in an increasingly crowded field” (¶ 98),

27    “seiz[ing] and maintain[ing] for xAI an unearned edge designed to impair competition” (¶ 98), and

28    thereby “threaten[ing] to reduce lawful competition in the market” (¶ 109). Under any pleading

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 1    standard, OpenAI’s allegations suffice to state a claim of unfair conduct that “significantly threatens

 2    or harms competition.” Cel-Tech, 20 Cal. 4th at 187.4

 3                    2.      Fraudulent business acts or practices

 4            OpenAI also states a claim of “fraudulent” business acts or practices, which requires

 5    pleading that “members of the public are likely to be deceived.” Morgan v. AT&T Wireless Servs.,

 6    Inc., 177 Cal. App. 4th 1235, 1254 (2009). That entails pleading “the likely effect [the impugned]

 7    practice would have on a reasonable consumer.” Id. at 1256-57. “[W]hether a business practice is

 8    deceptive will usually be a question of fact not appropriate for decision on [the pleadings],” and

 9    thus dismissal based on the issue will be “rare.” Williams v. Gerber Prods. Co., 552 F.3d 934, 938-

10    39 (9th Cir. 2008).

11            This is not the “rare” instance in which dismissal on the pleadings is warranted. Id. OpenAI

12    adequately pleads that the sham bid was likely to deceive reasonable consumers. According to

13    OpenAI, Plaintiffs billed the bid as legitimate, see ¶¶ 84, 90, 95, but allegedly sought to conceal

14    the bid’s sham character, including by portraying the LOI’s valuation as “based on OpenAI’s

15    ‘historical financial results’ and ‘projections’” even though OpenAI had never provided the

16    financial “projections” on which the bid was supposedly based, ¶ 86. The counterclaims also

17    adequately plead “the requisite causal link to OpenAI’s alleged harm.” MTD 21. OpenAI alleges

18    that the “existence” of the sham bid “and the media firestorm surrounding it” “required OpenAI to

19    expend significant resources in responding to it.” ¶¶ 90, 110. In the ensuing days, OpenAI’s board

20    “engaged in the formal process of reviewing and assessing” the LOI. ¶ 90. OpenAI was forced to

21    immediately “bear substantial costs” in the form of “resources expended in hiring advisors to

22    evaluate and respond to the bid and costs associated with the diversion of [OpenAI’s] employees’

23    time to respond to the bid,” ¶ 111—resource expenditures that readily satisfy the UCL, Cal. Med.

24    4
       Plaintiffs argue that OpenAI is required to allege a violation of a “specific antitrust law”—such
25    as “price-fixing, market allocation, or any other recognized antitrust violation”—as well as “facts
      establishing Plaintiffs’ market power.” MTD 18-19. This is wrong. “[A] practice may be deemed
26    unfair even if not specifically proscribed by some other law,” Cel-Tech, 20 Cal. 4th at 180, and
      “allegations typical of claims alleging violations of state or federal antitrust laws,” such as “specific
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      product or geographic markets, [or] market power,” are not required to state a competitor claim
28    under the UCL’s unfairness prong, Metricolor LLC v. L’Oréal S.A., 2020 WL 3802942, at *17
      (C.D. Cal. July 7, 2020).
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 1    Ass’n v. Aetna Health of Cal. Inc., 14 Cal. 5th 1075, 1088 (2023); Ghazarian v. Magellan Health,

 2    Inc., 53 Cal. App. 5th 171, 193 (2020). Based on these allegations, OpenAI has adequately pleaded

 3    that its “economic injury [came] as a result of the unfair competition.” Kwikset Corp. v. Superior

 4    Ct., 51 Cal. 4th 310, 326 (2011).

 5            B.      Tortious interference with prospective economic advantage (Second
                      Counterclaim)
 6

 7           OpenAI’s second counterclaim is likewise adequately pleaded. To state a claim for tortious

 8    interference with prospective economic advantage, a party must allege: “(1) an economic

 9    relationship between the plaintiff and some third party, with the probability of future economic

10    benefit to the plaintiff; (2) the defendant’s knowledge of the relationship; (3) intentional acts on the

11    part of the defendant designed to disrupt the relationship; (4) actual disruption of the relationship;

12    and (5) economic harm to the plaintiff proximately caused by the acts of the defendant.” CRST Van

13    Expedited, Inc. v. Werner Enters., Inc., 479 F.3d 1099, 1108 (9th Cir. 2007). Also required is

14    pleading “an act that is wrongful independent of the interference itself.” Id. All of these elements

15    are pleaded here:

16           Independently wrongful act. The “requirement of an independently wrongful act . . . may

17    be satisfied [] by an alleged violation of . . . the UCL.” Id. at 1110-11. Because OpenAI has pleaded

18    a viable UCL claim for the reasons discussed above, this element is met.

19           Economic relationship. OpenAI pleads “economic relationships with (1) third-party

20    investors, (2) employees, and (3) customers.” ¶ 116. Relationships of this kind are routinely held

21    to satisfy the “economic relationship” element. Byton N. Am. Co. v. Breitfeld, 2020 WL 3802700,

22    at *4 (C.D. Cal. Apr. 28, 2020) (employees); Humboldt Wholesale, Inc. v. Humboldt Nation

23    Distrib., LLC, 2012 WL 2572065, at *6 (N.D. Cal. July 2, 2012) (distributors and retailers);

24    Sebastian Int’l, Inc. v. Russolillo, 128 F. Supp. 2d 630, 637 (C.D. Cal. 2001) (customers).

25           Actual disruption and economic harm. Finally, OpenAI has more than adequately alleged

26    actual disruption and economic harm. Actual disruption “includes making plaintiff’s performance

27    more burdensome or expensive,” Rutter, Cal. Prac. Guide: Civ. Proc. Before Trial, Claims &

28    Defenses Ch. 3(II)-B (citing Pac. Gas & Elec. Co. v. Bear Stearns & Co., 50 Cal. 3d 1118, 1129

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 1    (1990)), and OpenAI pleads just that: that the sham bid has “complicated the process for

 2    undertaking any corporate reorganization,” ¶ 121, and has “already made maintenance of [its]

 3    business relationships [with investors] more costly and burdensome,” given that the bid “came at a

 4    time when . . . OpenAI was engaged in an extremely competitive process to raise funds,” ¶ 96. The

 5    counterclaims also allege that Plaintiffs’ conduct has made OpenAI’s relationships with employees

 6    and customers “more costly and burdensome,” ¶ 122, including by “sow[ing] confusion among

 7    [OpenAI] employees,” ¶ 95, who recognize the “chaos and arbitrary employment action” that come

 8    with a takeover by Musk, ¶ 99.

 9    III.   THE COUNTERCLAIMS SHOULD BE PROMPTLY TRIED

10           Plaintiffs argue in the alternative that OpenAI’s counterclaims “should be stayed until Phase

11    Two of this case” because they “fundamentally constitute competition-related claims.” MTD 23.

12    This argument misconstrues the Court’s guidance with respect to which claims should be tried on

13    an expedited schedule and which should be stayed. Under the Court’s prior ruling, what matters is

14    not the legal theory advanced but the factual predicate. See Dkt. 144 at 6, lns. 6-12. Applying that

15    standard, the counterclaims should be included in the expedited proceeding.

16           Like those of Plaintiffs’ claims designated for Phase One of this litigation, OpenAI’s

17    counterclaims focus on the course of conduct between OpenAI, its founders, and Musk from

18    OpenAI’s founding until the present. They also concern Musk’s visions of OpenAI’s future, his

19    alleged attempts to control the company, and his abandonment, and subsequent targeting, of it when

20    those attempts purportedly failed—factual allegations that, if true, would seemingly conflict with

21    the basis of Musk’s Phase One claims. The requisite close relationship between the facts to be tried

22    on Musk’s Phase One claims and the facts to be tried on OpenAI’s counterclaims thus exists, such

23    that those claims should be tried together.

24                                             CONCLUSION

25           For the foregoing reasons, the Motion is DENIED.

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 1    IT IS SO ORDERED this ___ day of _______________, 2025

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 5                                              HONORABLE YVONNE GONZALEZ ROGERS
                                                UNITED STATES DISTRICT COURT JUDGE
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